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                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS


UNITED STATES OF AMERICA                    )
                                            )
v.                                          )       4:17CR00243 BSM
                                            )
JUSTIN MICHAEL TARINELLI                    )


                                      MOTION TO DISMISS

       Pursuant to Rule 48(a), Federal Rules of Criminal Procedure, the United States of America,

through Cody Hiland, United States Attorney for the Eastern District of Arkansas, and Michael

Gordon, Assistant U.S. Attorney for said district, hereby moves for leave of Court to dismiss the

Indictment against JUSTIN MICHAEL TARINELLI in this case.                TARINELLI has been

indicted in a related case in the Eastern District of Arkansas, and the instant case is being

incorporated into that prosecution.

       WHEREFORE, for the above reason, the United States respectfully requests leave

of Court to dismiss the Indictment in this case against JUSTIN MICHAEL TARINELLI.

                                                    Respectfully submitted,

                                                    CODY HILAND
                                                    United States Attorney


                                                    By /s/ Michael Gordon
                                                    MICHAEL GORDON
                                                    TX Bar Number 00795383
                                                    Assistant U. S. Attorney
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                                     Certificate of Service

       I hereby certify that on December 7, 2017, I electronically filed the foregoing with the
Clerk of the Court using CM/ECF system, which shall send notification of such filing to the
following:

Danny Glover


                                              /s/ Michael Gordon
                                            MICHAEL GORDON
                                            TX Bar Number 00795383
                                            Assistant U. S. Attorney
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